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10
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12                             UNITED STATES DISTRICT COURT
13                        CENTRAL DISTRICT OF CALIFORNIA
14
15   CHRISTOPHER WEIDNER,                    Case No. 2:20-cv-4074
     Individually and as Personal
16   Representative of the Decedent,         PLAINTIFF’S COMPLAINT FOR
     CARL WEIDNER,                           DAMAGES
17
                     Plaintiff,              1. NEGLIGENCE – WRONGFUL
18                                              DEATH, 46 U.S.C. § 30301 et seq.
     v.
19                                           2. NEGLIGENCE - WRONGFUL
     CARNIVAL CORPORATION,                      DEATH
20   CARNIVAL PLC, and PRINCESS
     CRUISE LINES LTD.,                      3. GROSS NEGLIGENCE –
21                                              WRONGFUL DEATH
                     Defendants.
22
23                                     COMPLAINT
24         Plaintiff CHRISTOPHER WEIDNER, Individually and as Personal
25   Representative of the Decedent, his father, CARL WEIDNER, brings this action
26   against Defendants, PRINCESS CRUISE LINES LTD. ("PRINCESS"),
27   CARNIVAL CORPORATION, and CARNIVAL PLC (collectively,
28   “CARNIVAL”) and allege:
                                                         PLAINTIFF'S COMPLAINT FOR DAMAGES
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 1                                     THE PARTIES
 2         1.     At all times relevant hereto, Decedent CARL WEIDNER was a
 3   resident of Lehigh County, Pennsylvania.
 4         2.     Decedent CARL WEIDNER was a passenger onboard the Motor
 5   Vessel (“M/V”) GRAND PRINCESS from February 21, 2020, to disembarkation
 6   on or about March 10, 2020.
 7         3.     Decedent died on March 26, 2020, at the age of 74, due to COVID-19,
 8   which he contracted while a passenger onboard the M/V GRAND PRINCESS,
 9   sailing on the high seas.
10         4.     Plaintiff CHRISTOPHER WEIDNER is sui juris and is, and was at all
11   times relevant hereto, a resident of Lehigh County, Pennsylvania.
12         5.     Plaintiff CHRISTOPHER WEIDNER is the Decedent’s surviving
13   adult biological son.
14         6.     Defendant CARNIVAL CORPORATION was incorporated in 1972 in
15   Panama and has its headquarters in Miami, Florida.
16         7.     Defendant CARNIVAL PLC was incorporated in 2000, in Wales,
17   United Kingdom. It also has its headquarters in Miami, Florida.
18         8.     Defendant PRINCESS CRUISE LINES LTD. is incorporated in
19   Bermuda, with its headquarters in Santa Clarita, California.
20         9.     Upon information and belief, at all times hereto, CARNIVAL
21   CORPORATION, CARNIVAL PLC, and PRINCESS advertised, marketed, sold,
22   and profited (directly or indirectly) from and owned, controlled, and operated the
23   cruise ship, M/V GRAND PRINCESS.
24                 ALTER EGO/PIERCING THE CORPORATE VEIL
25         10.    Defendants CARNIVAL CORPORATION, CARNIVAL PLC, AND
26   PRINCESS are alter egos and/or agents of each other such that the corporate form
27   should be disregarded.
28
                                                            PLAINTIFF'S COMPLAINT FOR DAMAGES
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 1         11.    CARNIVAL CORPORATION and CARNIVAL PLC operate as a
 2   single economic enterprise. They share a senior executive management team and
 3   identical Boards of Directors. Both Carnival Corporation and Carnvial plc share a
 4   single headquarters in Miami, Florida.
 5         12.    As described by CARNIVAL CORPORATION in a filing with the
 6   Securities and Exchange Commission (“SEC”), “Carnival Corporation and Carnival
 7   plc operate a dual listed company (‘DLC’), whereby the businesses of Carnival
 8   Corporation and Carnival plc are combined through a number of contracts and
 9   through provisions in Carnival Corporation’s Articles of Incorporation and By-
10   Laws and Carnival plc’s Articles of Association.”
11         13.    Plaintiff brings this lawsuit against CARNIVAL CORPORATION and
12   CARNIVAL PLC individually, but because the entities work as alter-egos and/or
13   agents of one another, Plaintiff refers to them collectively throughout this
14   Complaint as “CARNIVAL.”
15         14.    In a federal criminal plea agreement signed by CARNIVAL in 2016,
16   CARNIVAL described PRINCESS as one of several “operating lines” that together
17   comprise the “Carnival Group” of companies. CARNIVAL stated that Princess and
18   the other cruise ship operating lines are semi- autonomous entities within the
19   Carnival Corporation and Carnival plc corporate umbrella.
20         15.    In that 2016 federal criminal plea agreement, CARNIVAL stated that
21   it “currently monitors and supervises environmental, safety, security, and regulatory
22   requirements for Princess and other Carnival brands. Carnival Corporation & plc
23   operate a total of 101 ships visiting 700 ports around the world, including most
24   major ports in the United States.”
25         16.    CARNIVAL has ownership and control over PRINCESS, which is
26   organized under Holland America Group within CARNIVAL. CARNIVAL has
27   claimed in filings with the SEC that it wholly owns PRINCESS as a subsidiary.
28
                                                              PLAINTIFF'S COMPLAINT FOR DAMAGES
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 1         17.    CARNIVAL and PRINCESS share the same Board of Directors and
 2   almost all of the same executive officers, and appear to use the same assets.
 3         18.    CARNIVAL exerts control and domination over PRINCESS’s
 4   business and day-to-day operations.
 5                                      JURISDICTION
 6         19.    This Court has Admiralty subject matter jurisdiction pursuant to the
 7   Death on the High Seas Act, codified at 46 U.S.C. § 30301 et seq. Plaintiff and
 8   Decedent suffered harm as the result of an injury that took place more than three (3)
 9   nautical miles from the coast of the United States caused by Defendants’ wrongful
10   act, neglect, and/or default.
11         20.    Alternatively, this Court has Admiralty subject matter jurisdiction
12   pursuant to 28 U.S.C. § 1333 as this case involves a maritime tort. The type of
13   incident and injuries suffered by Plaintiff and Decedent had the potential to impact
14   maritime commerce, as Decedent died as a result of exposure to COVID-19 aboard
15   the cruise ship upon which he was a paying passenger.
16         21.    This Court also has diversity of citizenship jurisdiction pursuant to 28
17   USC §1332(a)(1) because Plaintiff’s claim exceeds $75,000 and because Plaintiff is
18   and was at all times relevant hereto a citizen of a state different from Defendants.
19         22.    This Court has personal jurisdiction over Defendants, who each
20   conduct substantial business in this district.
21         23.    Defendant PRINCESS has its headquarters in Santa Clarita, California.
22         24.    Upon information and belief, CARNIVAL, including by and through
23   its subsidiary, PRINCESS, markets cruise vacations to California residents and
24   employs thousands of California residents to work at its California headquarters.
25   The Court has personal jurisdiction over CARNIVAL because CARNIVAL is
26   authorized to do business in California, conducts substantial business in California
27   and some of the actions giving rise to this Complaint took place in California.
28
                                                              PLAINTIFF'S COMPLAINT FOR DAMAGES
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 1         25.    Additionally, each of the Defendants purports to be a party to the
 2   Passage Contract, which purports to name the Central District of California as
 3   proper venue for actions against Defendants. Plaintiff does not concede the
 4   enforceability of the Passage Contract. Nevertheless, by naming this District as a
 5   proper venue, Defendants have consented to personal jurisdiction in this District.
 6                                          VENUE
 7         26.    Venue in the Central District of California is proper under
 8   28 U.S.C. § 1391 because Defendants are deemed to reside in any judicial district in
 9   which they are subject to personal jurisdiction.
10         27.    Without conceding the enforceability of the Passage Contract, Plaintiff
11   acknowledges that Defendants included in the Passage Contract a venue selection
12   provision designating the United States District Court for the Central District of
13   California in Los Angeles as a proper venue for this action.
14                                  FACTUAL BACKGROUND
15   I.    The COVID-19 Pandemic and the Cruise Industry
16         28.    In December 2019, a new strain of Coronavirus known as COVID-19
17   or SARS-CoV-2 was first observed in humans in China. The virus quickly spread
18   through China and Asia and has caused a global pandemic. Infection with COVID-
19   19 is associated with symptoms such as fever, a dry cough, shortness of breath,
20   infection, pneumonia, and can be fatal. The infection presents particularly high
21   risks of death or severe symptoms to individuals over the age of 65 and those who
22   are immunocompromised or who have pre-existing conditions, such as respiratory
23   illness or heart conditions.
24         29.    As of the filing of this complaint, there have been over 1 million cases
25   and over 64,000 deaths in the United States as a result of COVID-19. Over 1,500
26   cases and, as of this filing, 29 deaths have been reported in San Francisco, at least
27   two of which were due to infections contracted while onboard the M/V GRAND
28   PRINCESS—a ship owned and operated by Defendants.
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 1           30.      On January 30, 2020, the World Health Organization declared
 2   COVID-19 a global health emergency.
 3           31.      In early February 2020, experts in the European Union, led by
 4   epidemiologist Dr. Christou Hadjichristodoulou, released guidelines for the cruise
 5   industry that included an outline of the risk of COVID-19 outbreaks aboard cruise
 6   ships and recommended response protocols.1 Specifically, the guidelines directed
 7   that, in the event of a COVID-19 case, close contacts of the infected individual
 8   should be quarantined in their cabin or on shore, and “casual contacts” should be
 9   disembarked.2
10           32.      Defendants CARNIVAL and PRINCESS represent that they have a
11   commitment to “the health, safety, and security” of their passengers and promote
12   their business as one that “always strives to be free of injuries, illness and loss.”3
13   They further assert that they “[s]upport a proactive framework of risk mitigation in
14   the areas of HESS [Health, Environment, Safety, Security] aimed at preventing,
15   monitoring and responding to threats.”4
16           33.      However, in or before early February 2020, Defendants became aware
17   of an outbreak of COVID-19 aboard the cruise ship the M/V DIAMOND
18   PRINCESS, which is operated by CARNIVAL and PRINCESS. The outbreak
19   originated on the DIAMOND PRINCESS while the vessel was docked in
20   Yokohama, Japan. Ten cases were originally diagnosed, and that number rapidly
21
22   1
       Interim Advice for Preparedness and Response to Cases of Acute Respiratory Disease at Points of Entry in the
     European Union (EU) / EEA Member States (MS): Advice for ship operators for preparednessand response to the
23   outbreak of 2019-nCoV acute respiratory disease, Feb. 3, 2020, https://www.gac.com/491364/siteassets/about-
     gac/coronavirus/eu-interim-advice_2019-ncov_maritime_4_2_2020_f.pdf (last visited April 6, 2020); see also Matt
24   Apuzzo, Motoko Rich and David Yaffe-Bellany, The New York Times, Failures on Diamond PrincessShadow
     Another Cruise Ship Outbreak, March 8, 2020, https://www.nytimes.com/2020/03/08/world/asia/coronavirus-cruise-
25   ship.html (last visited April 6, 2020).
     2
       Healthy GateWays, Algorithm for decision making in response to an event of a suspect case of COVID-19,
26   https://www.nytimes.com/2020/03/08/world/asia/coronavirus-cruise-ship.html (last visited April 6, 2020).
     3
       Carnival Health, Environment, Safety, Security & Sustainability Policy & Governance, Carnival Health,
27   Environment, Safety, Security & Sustainability Policy & Governance, https://www.carnivalcorp.com/leading-
     responsibly/health-environment-safety-security-sustainability-policy-governance/ (last visited April 7, 2020).
28   4
       Carnival Corporation & PLC Health, Environmental, Safety, Security, and Sustainability Corporate Policy,
     https://www.carnivalcorp.com/static-files/0b8327aa-c3be-4022-a1a5-a6dad7123af7 (last visited April 7, 2020).
                                                                              PLAINTIFF'S COMPLAINT FOR DAMAGES
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 1   escalated to over 700 cases—over one-fifth of the passengers onboard. Investigative
 2   reporting about the M/V Diamond Princess alleges that well after CARNIVAL and
 3   PRINCESS became aware of the first case aboard the ship, Defendants worked to
 4   “keep the fun going” by “encouraging [guests] to mingle.”5
 5           34.      To date, at least thirteen (13) of the M/V DIAMOND PRINCESS’
 6   passengers have died as a result of COVID-19. At least two of these fatalities
 7   occurred before February 19, 2020. 6
 8           35.      In a February 18, 2020, update issued in response to the crisis aboard
 9   the M/V DIAMOND PRINCESS, the Center for Disease Control (CDC) stated that
10   “the rate of new reports of positives [now] on board, especially among those
11   without symptoms, highlights the high burden of infection on the ship and potential
12   for ongoing risk."7
13           36.      Upon information and belief, in February, CARNIVAL also operated a
14   voyage on the M/V RUBY PRINCESS, from New Zealand to Australia. News
15   reports suggest that in mid-to-late February, Defendants became aware of COVID-
16   19 cases onboard the M/V RUBY PRINCESS. Despite this information,
17   CARNIVAL operated a second voyage on the M/V RUBY PRINCESS,
18   immediately following the New Zealand-to-Australia voyage. Since the vessel
19   docked in Australia on March 19, over 600 passengers who were on the Ruby
20   Princess have tested positive for the virus and at least 10 have died. Australian
21   authorities have announced a criminal investigation into the matter.
22           37.      As of the filing of this complaint, cruises run by CARNIVAL have
23   been identified as responsible for more than 1,500 positive COVID-19 infections,
24   and almost 40 deaths.
25
     5
       Austin Carr and Chris Palmieri, Bloomberg, Socially Distance This: Carnival Executives Knew They Had a Virus
26   Problem, But Kept the Party Going, April 16, 2020, https://www.bloomberg.com/features/2020-carnival-cruise-
     coronavirus/ (last visited April 20, 2020).
27   6
       See The New York Times, Japan Reports 2 Deaths Among Cruise Ship Passengers, Feb. 19, 2020,
     https://www.nytimes.com/2020/02/19/world/asia/china-coronavirus.html (last visited April 6, 2020).
28   7
       See Centers for Disease Control and Prevention, Update on the Diamond Princess Cruise Ship in Japan, Feb. 18,
     2020, https://www.cdc.gov/media/releases/2020/s0218-update-diamond-princess.html (last visited April 6, 2020).
                                                                               PLAINTIFF'S COMPLAINT FOR DAMAGES
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 1   II.     Defendants Failed to Prevent or Address the Viral Outbreak on the M/V
             Grand Princess
 2
 3           38.      On February 11, 2020, Defendants operated a roundtrip voyage from
 4   San Francisco to Mexico aboard the M/V GRAND PRINCESS. On or around
 5   February 19, 2020, Defendants were aware of at least one passenger suffering from
 6   COVID-19 symptoms onboard the M/V GRAND PRINCESS.
 7           39.      According to CARNIVAL’s Chief Medical Officer, Grant Tarling,
 8   MD, MPH, Defendants believed the infected passenger was already carrying the
 9   virus when he boarded the M/V GRAND PRINCESS on February 11, 2020.8
10   Despite their knowledge regarding COVID-19, Defendants had no effective
11   passenger medical screening methods in place at that time.
12           40.      Dr. Tarling reported that the infected passenger sought treatment from
13   the medical center onboard the M/V GRAND PRINCESS on February 20, 2020.
14   The passenger reported suffering from “acute respiratory distress” for about a week
15   before seeking medical treatment. Upon information and belief, this information
16   would have triggered mandatory reporting under 42 CFR 71.1 et seq. and
17   constitutes a “hazardous condition” per 33 CFR § 160.216.9
18           41.      Upon information and belief, at least three other passengers on the
19   M/V GRAND PRINCESS’s Mexico trip suffered from COVID-19 symptoms while
20   on the vessel, likely exposing many other passengers to the virus. At least 100
21   passengers who traveled on board the M/V GRAND PRINCESS have tested
22   positive for COVID-19, and two passengers who traveled on the M/V GRAND
23
24
25   8
       Thomas Fuller, John Eligon, and Jenny Gross, The New York Times, Cruise Ship, Floating Symbol of America’s
     Fear of Coronavirus, Docks in Oakland, March 9, 2020, https://www.nytimes.com/2020/03/09/us/coronavirus-
26   cruise-ship-oakland-grand-princess.html (last visited April 7, 2020).
     9
       Section 160.216 requires that “[w]henever there is a hazardous condition … on board a vessel or caused by a vessel
27   or its operation, the owner, agent, master, operator, or person in charge must immediately notify the nearest Coast
     Guard Sector Office . . . .” A“[h]azardous condition means any condition that may adversely affect the safety of any
28   vessel … or the environmental quality of any port, harbor, or navigable waterway of the United States. It may, but
     need not, involve … injury or illness of a person aboard … .” 33 CFR § 160.202 (emphasis added).
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 1   PRINCESS’s Mexico trip died after disembarking. One of these fatalities was the
 2   first reported death caused by COVID-19 in California.
 3         42.    On February 21, 2020, the M/V GRAND PRINCESS arrived at port in
 4   San Francisco and some of the passengers from the Mexico trip disembarked.
 5         43.    Approximately sixty-two passengers, at least two of whom were ill,
 6   and over 1,000 crew members remained onboard the M/V GRAND PRINCESS to
 7   continue traveling on the ship’s next voyage, to Hawaii. Defendants did not
 8   implement any effective COVID-19 screening or medical examination procedures
 9   for crew or passengers who remained onboard and planned to travel on the Hawaii
10   voyage.
11         44.    Defendants did not initiate effective measures to sanitize or disinfect
12   the vessel in-between voyages, and—once again—did not implement any effective
13   procedures for screening or testing new passengers boarding the ship for the Hawaii
14   voyage.
15         45.    Defendants did not notify passengers who were scheduled to board the
16   vessel on February 21, 2020, that passengers from the prior Mexico trip had
17   reported COVID-19 symptoms, or of the fact that passengers and crewand
18   remaining on board the M/V GRAND PRINCESS had been exposed to and might
19   be infected with and/or carrying the virus.
20         46.    On February 21, 2020, Decedent CARL WEIDNER embarked onto
21   the M/V GRAND PRINCESS, and the ship departed the same day. The vessel
22   sailed to Hawaii and made multiple stops on the Hawaiian islands.
23         47.    On February 25, 2020, while Decedent was in the midst of the Hawaii
24   trip aboard the M/V GRAND PRINCESS, Defendants sent emails to passengers
25   who disembarked from the San Francisco-to-Mexico trip on February 21. The email
26   alerted the past passengers about their potential exposure to COVID-19 during their
27   time on the cruise. No such notice was effectively provided to passengers who were
28   onboard the ship on February 25, 2020.
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  1         48.    On February 29, 2020, the vessel left Hawaii.
  2         49.    Upon information and belief, increased sanitary precautions did not
  3   begin onboard the M/V GRAND PRINCESS until on or about March 3, 2020.
  4         50.    CARNIVAL and PRINCESS did not inform the passengers, including
  5   Decedent, on board the M/V GRAND PRINCESS of COVID-19 cases in
  6   passengers who traveled on the ship’s Mexico trip until on or around March 4,
  7   2020. Early in the morning on March 4, 2020, passengers onboard the M/V
  8   GRAND PRINCESS received a health advisory explaining that the ship would no
  9   longer be traveling to Ensenada, Mexico, as originally scheduled, and would
 10   instead return directly to San Francisco. The advisory alerted passengers to the
 11   investigation of a “small cluster of COVID-19 cases in Northern California
 12   connected to” the M/V GRAND PRINCESS’s Mexico trip, and informed
 13   passengers of their potential exposure to the virus.
 14         51.    The advisory further asserted that COVID-19 causes “mild illness in
 15   about 80% of cases,” and that only “[a]bout 20% of people develop more severe
 16   symptoms.” Although the letter recognized that COVID-19 can have a heightened
 17   risk for “older adults,” at various points it compared the virus to “regular flu.”
 18   Notably, a significant number of passengers aboard most cruise ships, including
 19   Decedent, are “older adults.” On some ships as many as two-thirds of the guests are
 20   over 65.
 21         52.    The March 4, 2020 health advisory suggested that passengers traveling
 22   on the Hawaii trip had already reported suffering from COVID-19 symptoms, and
 23   instructed other passengers who were experiencing or had at any time during the
 24   trip experienced symptoms “of acute respiratory illness with fever chills or cough”
 25   to immediately contact the ship’s Medical Center. Finally, the advisory
 26   recommended that passengers wash their hands, use hand sanitizer, avoid contact
 27   with those suffering from respiratory illness, cover their noses and mouths when
 28
                                                                PLAINTIFF'S COMPLAINT FOR DAMAGES
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  1   coughing and sneezing, and avoid touching their eyes and face. It did not make any
  2   recommendations for quarantine or social distancing measures.
  3           53.      The March 4, 2020, health advisory was signed by Grant Tarling, MD,
  4   MPH, the Group Senior Vice President and Chief Medical Officer for CARNIVAL
  5   and its subsidiary PRINCESS. Tarling is the co-author of an article about
  6   respiratory viruses onboard cruise ships. The study acknowledged that cruise ships
  7   “represent a potential source for introduction of novel or antigenically drifted
  8   influenza virus strains to the United States” and that cruise ship characteristics,
  9   such as “close quarters and prolonged contact among travelers on ships and during
 10   land-based tours before embarkation, increase the risk of communicable disease
 11   transmission.”10
 12           54.      Upon information and belief, individuals who had continued on from
 13   the prior leg of the cruise to and from Mexico began cabin-based quarantine for the
 14   first time on or around March 4, 2020. At that time, Defendants cancelled only
 15   large public gatherings, and continued hosting other events that followed the
 16   “Princess Patter,” including Formal Night and its associated dinner.
 17           55.      Because of the COVID-19 outbreak on the M/V GRAND PRINCESS,
 18   Govenor Gavin Newsom declared a state of emergency on March 4, 2020, to
 19   manage the COVID-19 outbreak following the death of a passenger who had been
 20   on the Mexico trip. As a result, the State of California refused to allow the vessel
 21   into port in San Francisco. The vessel was instead forced to anchor off the coast of
 22   San Francisco. Govenor Newsom stated at a press conference that there were 11
 23   passengers and 10 crew members experiencing symptoms.
 24           56.      On or about March 5, 2020, two weeks after the ship sailed,
 25   Defendants instituted some operational changes, including cabin/state room
 26
 27
      10
        Kimberly B. Rogers, MPH, Shahrokh Roohi, MPH, Timothy M. Uyeki, MD, et al., Laboratory-based respiratory
 28   virus surveillance pilot project on select cruise ships in Alaska, 2013-2015, Journal of Travel Medicine, 1-6, 2
      (2017).
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  1   quarantine, meal service within the cabins/state rooms, and cessation of daily
  2   turndown service and communal activities.
  3           57.      On or about March 9, 2020, the ship was allowed to sail and arrived in
  4   the San Francisco Bay escorted by the Coast Guard. The ship docked in Port of
  5   Oakland and was met by ambulances and medical personnel.
  6           58.      On or about March 10, 2020, passengers, including the Decedent, were
  7   finally allowed to disembark, and were shuttled to Travis Air Force Base in Solano
  8   County, California for further quarantine.
  9           59.      At the time of this filing, Defendant CARNIVAL has cancelled future
 10   cruises embarking from San Francisco through the end of 2020. However,
 11   CARNIVAL’s website indicates that it intends to begin operating certain cruise
 12   ships as early as June 26, 2020, potentially posing grave threats to their passengers,
 13   crew members, and the public health.11.
 14   III.    Decedent Carl Weidner’s Experience
 15           60.      Decedent Carl Weidner was 74 years old at all times relevant to the
 16   events described in this Complaint.
 17           61.      Decedent boarded the M/V GRAND PRINCESS on February 21,
 18   2020, for the voyage en route to Hawaii.
 19           62.      On or about March 4, 2020, Decedent called his niece and reported
 20   that passengers onboard the M/V GRAND PRINCESS were going to be
 21   quarantined and that he did not know when the ship would dock, or when he would
 22   be allowed to disembark.
 23           63.      On information and belief, at some point while aboard the ship and
 24   more than three (3) nautical miles away from shore, Decedent contracted COVID-
 25   19.
 26
 27
 28   11
        See Carnival, Health and Safety Updates, https://www.carnival.com/health-and-sailing-updates (last visited April
      21, 2020).
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  1         64.    On March 9, 2020, after the ship docked, Decedent was allowed to
  2   disembark the vessel and was screened for COVID-19. At that time he did not have
  3   a fever.
  4         65.    On the same day, Decedent was transferred to Travis Air Force Base
  5   along with other M/V GRAND PRINCESS passengers who had disembarked from
  6   the ship. The bus ride to Travis Air Force Base took approximately three hours and
  7   thirty minutes, during which the recently disembarked passengers were held in
  8   close proximity to one another.
  9         66.    On or before March 11, 2020, Decedent began experiencing and
 10   showing symptoms of COVID-19, and, on March 11, 2020, he was taken to the
 11   hospital at California Pacific Medical Center. He was put on a respirator and tested
 12   for COVID-19. His girlfiend, who had also traveled M/V GRAND PRINCESS’s
 13   Hawaii trip, remained at Travis Air Force Base.
 14         67.    On March 13, 2020, Decedent received a diagnosis that he tested
 15   positive for COVID-19. Three days later, on March 16, 2020, he was told that he
 16   would be put on a ventilator.
 17         68.    Decedent remained on a ventilator for ten days and was placed in a
 18   medically-induced coma. To protect patients and the public health, he was not
 19   allowed any visitors.
 20         69.    On March 26, 2020, Decedent died as a result of infection with
 21   COVID-19. His death was the direct and proximate result of his exposure to the
 22   virus on the ship due to Defendants’ failure to take any effective measures to
 23   prevent or mitigate the spread of COVID-19 onboard the M/V GRAND
 24   PRINCESS.
 25         70.    Before boarding and embarking upon the February 21, 2020, roundtrip
 26   voyage from San Francisco to Hawaii, Defendants knew or should have known the
 27   extreme and actual risks of an outbreak of COVID-19 onboard the M/V GRAND
 28   PRINCESS. Defendants had already experienced viral outbreak aboard their vessel
                                                              PLAINTIFF'S COMPLAINT FOR DAMAGES
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  1   the M/V DIAMOND PRINCESS and were aware or should have been aware that
  2   passengers on the immediately preceding voyage aboard the M/V GRAND
  3   PRINCESS had experienced and reported suffering from COVID-19 symtoms.
  4         71.    Defendants knew the high likelihood of their passengers carrying,
  5   spreading, and contracting pathogens, incluiding COVID-19, aboard cruise ships.
  6   And—especially in light of the age demographics of cruise line customers—
  7   Defendants’ knew the likelihood of passengers suffering severe cases of COVID-19
  8   and the likelihood of passengers dying as a result.
  9         72.    Defendants knew or should have known that they were putting
 10   Decedent in actual, extreme, and immediate risk of harm by failing to: notify
 11   passengers, including Decedent, of the potential of exposure to COVID-19 onboard
 12   the M/V GRAND PRINCESS; implement proper procedures to screen and examine
 13   passengers; clean and sanitize the M/V GRAND PRINCESS; isolate and/or
 14   quarantine passengers onboard the ship; limit large group activities and events; end
 15   the practice of daily turndown service; and/or take other measures to prevent and
 16   mitigate the spread of the virus.
 17         73.    Defendants knew or should have known that by failing to proactively
 18   warn passengers—including Decedent—and by failing to take actions to limit
 19   opportunities for viral spread, they risked serious personal injury and/or death to
 20   their passengers.
 21         74.    Nevertheless, Defendants consciously disregarded the known high
 22   probability of injury and/or death and chose to instead pursue profits rather than
 23   protect the public and their customers, including Decedent. Defendants acted
 24   negligently, recklessly, carelessly and maliciously.
 25   IV.   Relation of Plaintiff’s Claims to Class Action Litigation Against
            Defendants
 26
 27         75.    A proposed class action lawsuit has been filed in the Northern District
 28   of California against Defedants PRINCESS and CARNIVAL. The class action
                                                              PLAINTIFF'S COMPLAINT FOR DAMAGES
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  1   alleges claims of negligence, gross negligence, negligent infliction of emotional
  2   distress, and intentional infliction of emotional distress.
  3           76.   Although this individual action raises claims in addition to those
  4   included in the class action, there exist numerous questions of law and fact—
  5   including those related to Defendants’ knowledge, conduct, and duty throughout the
  6   events described in this Complaint—common to Plaintiff here, CHRISTOPHER
  7   WEIDNER, and the Plaintiffs and proposed Class in Archer v. Carnival Corp., No.:
  8   3:20-cv-02381 (N.D. Cal.). These common legal and factual issues include, inter
  9   alia:
 10                 a.    what Defendants knew about the presence and risks associated
 11   with the COVID-19 virus, and contagions generally, and when they knew it;
 12                 b.    whether Defendants should have canceled the subject cruise to
 13   avoid exposing passengers to a deadly pathogen and/or taken other steps to avoid
 14   exposing passengers to a deadly pathogen;
 15                 c.    whether Defendants had a duty to decontaminate the M/V
 16   GRAND PRINCESS after they knew or should have known that individuals who
 17   had been aboard the M/V GRAND PRINCESS prior to the subject cruise were or
 18   were potentially carriers of the COVID-19 virus, and/or after it had been disclosed
 19   2 days prior to embarking on the subject leg of the cruise that passengers on the
 20   Diamond Princess had perished due to the COVID-19 virus;
 21                 d.    whether Defendants knew or should have known that passengers
 22   and crew who had been aboard the M/V GRAND PRINCESS prior to the subject
 23   cruise were exposed to or were potentially carriers of the COVID-19 virus;
 24                 e.    whether the fact that prior passengers and crew had been
 25   exposed to or were potential carriers of the COVID-19 virus constitutes a material
 26   fact reasonable consumers would have considered in deciding whether to embark
 27   on the subject cruise;
 28
                                                                PLAINTIFF'S COMPLAINT FOR DAMAGES
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  1                f.     whether Defendants had a duty to disclose that passengers and
  2   crew who had been aboard the M/V GRAND PRINCESS prior to the subject cruise
  3   were exposed to or were potentially carriers of the COVID-19 virus, and other
  4   relevant information;
  5                g.     whether Defendants failed to disclose that passengers and crew
  6   who had been aboard the M/V GRAND PRINCESS prior to the subject cruise were
  7   or were potentially carriers of the COVID-19 virus and other relevant information;
  8                h.     interpretation of the applicable contract documents and the
  9   associated “Passenger Bill of Rights” incorporated therein;
 10                i.     whether Defendants acted as alter egos and/or agents, such that
 11   they should be held jointly liable for the conduct alleged herein;
 12                j.     whether CARNIVAL CORPORATION is liable for the acts,
 13   omissions, and violations described in this Complaint;
 14                k.     whether CARNIVAL PLC is liable for the acts, omissions, and
 15   violations described in this Complaint; and
 16                l.     whether PRINCESS is liable for the acts, omissions, and
 17   violations described in this Complaint;
 18                                         NOTICE
 19         77.    Section 16 (A)(i) of the Passage Contract purports to require that
 20   claimants provide notice to PRINCESS and CARNIVAL of any potential claims.
 21   Although Plaintiff does not concede that this provision is enforceable, Plaintiff has
 22   complied with this requirement by providing written notice to Defendants
 23   electronically on April 20, 2020.
 24                                 CLAIMS FOR RELIEF
 25                    FIRST CAUSE OF ACTION
                  NEGLIGENCE – WRONGFUL DEATH –
 26    UNDER THE DEATH ON THE HIGH SEAS ACT, 46 U.S.C. § 30301 et seq.
 27         78.    Plaintiff re-alleges all allegations in all preceding paragraphs as if
 28   alleged fully herein.
                                                                PLAINTIFF'S COMPLAINT FOR DAMAGES
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  1            79.   Defendants owed Decedent CARL WEIDNER, who was a paying
  2   passenger that boarded the M/V GRAND PRINCESS on February 21, 2020, a duty
  3   to ensure that he would not be exposed to an unreasonable risk of harm.
  4            80.   Likewise, Defendants owed Decedent a duty to take actions to prevent
  5   and mitigate the risk of threats to his health and safety, including by ensuring that
  6   the M/V GRAND PRINCESS was properly cleaned, disinfected, and safely
  7   maintained.
  8            81.   Defendants knew or should have known that cruise ships pose an
  9   especially severe risk of viral outbreak. Defendants knew or should have known
 10   that cruise ships owned and operated by Defendants had been the sites of prior,
 11   lethal outbreaks of COVID-19, and should have been aware of new guidelines for
 12   the cruise industry published by Dr. Hadjichristoulou and a team of European
 13   experts on February 3, 2020. In particular, Defendants had knowledge of the actual
 14   risks facing passengers based on, among other facts, the outbreak of the virus on the
 15   Diamond Princess, a mere three weeks prior to the instant outbreak.
 16            82.   Defendants knew or should have known that passengers traveling on
 17   the M/V GRAND PRINCESS had suffered COVID-19 symptoms and that
 18   passengers and crew aboard the M/V GRAND PRINCESS’s San Francisco-Mexico
 19   voyage who remained onboard the vessel for the San Francisco-Hawaii voyage
 20   were or could have been exposed to and were or could have been carriers of the
 21   virus.
 22            83.   Defendants also knew or should have known that COVID-19 posed
 23   especially high risks for adults over the age of 65 and that a large number of their
 24   passengers, including Decedent, were over the age of 65.
 25            84.   Defendants failed to do what a reasonably careful cruise ship owner
 26   and operator would do under the circumstances.
 27
 28
                                                               PLAINTIFF'S COMPLAINT FOR DAMAGES
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  1         85.    Defendants breached their duties to the Decedent when, with the
  2   aforementioned knowledge, Defendants nevertheless chose to go forward with the
  3   San Francisco-Hawaii voyage.
  4         86.    Defendants also breached their duties when, with that same
  5   knowledge, they chose not to effectively screen or medically examine any
  6   passengers or crew, including the approximately sixty-two passengers and over
  7   1,000 crew members who had traveled on the San Francisco-Mexico trip and were
  8   also traveling on the San Francisco-Hawaii trip.
  9         87.    Defendants further breached their duties to Decedent when, with the
 10   above-mentioned knowledge, Defendants boarded, without additional
 11   decontamination and screening protocols, over 2,000 passengeres, including
 12   Decedent, onto the likely-infested ship and negligently chose not to notify those
 13   passengers of: the actual risk that the ship was infested with COVID-19 due to
 14   prior passengers’ infections; the actual and extreme risks of contracting COVID-19
 15   while using facilities on the vessel; and/or the actual and extreme risks of
 16   contracting COVID-19 while mingling with passengers and crew who had traveled
 17   on the Mexico voyage.
 18         88.    Defendants again breached their duties to Decedent when, throughout
 19   the San Francisco-Hawaii voyage, with the aforementioned knowledge, they
 20   repeatedly chose not to inform Decedent and his fellow passengers of the
 21   continuing and growing risks of contracting COVID-19, and chose not to provide
 22   Decedent with the informed option to disembark at one of the vessel’s ports of call.
 23         89.    Additionally, Defendants breached their duties to the Decedent when,
 24   on or before February 25, 2020, Defendants repeatedly failed to notify passengers
 25   aboard the M/V GRAND PRINCESS during the San Francisco-Hawaii voyage that
 26   passengers on the Mexico voyage had been diagnosed with COVID-19, that at least
 27   one had died, and that certain passengers and crew from that trip remained onboard
 28   the M/V GRAND PRINCESS. Moreover, Defendants breached their duties to
                                                               PLAINTIFF'S COMPLAINT FOR DAMAGES
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  1   Decedent when, after notifying prior M/V GRAND PRINCESS passengers of their
  2   potential exposure on February 25, 2020, Defendants continued not to alert
  3   passengers on the instant voyage, including Decedent, until the morning of March
  4   4, 2020.
  5         90.    Finally, Defendants continued to breach their duties to Decedent,
  6   throughout the duration of the M/V GRAND PRINCESS’s San Francisco-Hawaii
  7   voyage, with the aforementioned knowledge and without any warning to the
  8   passengers onboard, when they, inter alia, chose not to implement quarantine or
  9   social distancing protocols; chose to continue operating large, public gatherings,
 10   communal activities, and meals—which they encouraged passengers to attend; and
 11   chose to continue to operate daily turndown service.
 12         91.    It was reasonably foreseeable that, due to these choices, acts,
 13   omissions, and negligent behaviors by Defendants, passengers, including the
 14   Decedent, would suffer serious injuries and/or illness, suffer complications from
 15   those injuries and/or illness, and die as a result.
 16         92.    As a direct and proximate result of Defedents’ wrongful acts and
 17   outrageous failures to safeguard Decedent, Decedent contracted COVID-19 while
 18   onboard the M/V GRAND PRINCESS more than three (3) nautical miles from the
 19   shore of the United States.
 20         93.    Decedent was forced to spend days at Travis Air Force Base, was sent
 21   to the hospital at California Pacific Medical Center, spent over two weeks in the
 22   hospital—ten days of which were spent on a respirator in a medically-induced
 23   coma—and subsequently died.
 24         94.    As a direct and proximate result of Defendants’ wrongful acts and
 25   outrageous failures to safeguard Decedent, Plaintiff CHRISTOPHER WEIDNER
 26   has sustained and will incur pecuniary damages caused by Decedent’s death
 27   including funeral and burial expenses, the loss of financial support Decedent would
 28   have contributed to the family; the loss of inheritance; the loss of gifts or benefits
                                                                PLAINTIFF'S COMPLAINT FOR DAMAGES
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  1   that Plaintiff would have expected to receive from Decedent; the reasonable value
  2   of household services that Decedent would have provided, and other losses, the full
  3   nature and extent of which are not yet known to Plaintiff, and leave is requested to
  4   amend this Complaint to conform to proof at the time of trial.
  5                       SECOND CAUSE OF ACTION
                  COMMON LAW NEGLIGENCE –WRONGFUL DEATH
  6
  7         95.     Plaintiff re-alleges all allegations in all preceding paragraphs as if
  8   alleged fully herein.
  9         96.     Out of an abundance of caution, including if this Court should
 10   determine that the Death on the High Seas Act, 46 U.S.C. § 30301 et seq., does not
 11   apply in this case, Plaintiff additionally alleges in the alternative that Defendants
 12   are liable for Decedent’s wrongful death under maritime common law negligence.
 13         97.     Defendants owed Decedent CARL WEIDNER, who was a paying
 14   passenger that boarded the M/V GRAND PRINCESS on February 21, 2020, a duty
 15   to ensure that he would not be threatened with an unreasonable risk of harm.
 16         98.     Defendants owed Decedent a duty to take actions to prevent and
 17   mitigate unreasonable risks of threats to his health and safety, including by ensuring
 18   that the M/V GRAND PRINCESS was properly cleaned, disinfected, and safely
 19   maintained.
 20         99.     Defendants knew or should have known that the threat of contracting
 21   COVID-19 aboard the M/V GRAND PRINCESS was unreasonably high and posed
 22   a severe risk of injury and/or death.
 23         100. Nevertheless, Defendants failed to take effective measures to prevent,
 24   limit, or address the spread of COVID-19 aboard the M/V GRAND PRINCESS.
 25   Defendants breached their duties to the Decedent by, among other things, refusing
 26   to cancel the February 21, 2020 voyage aboard the M/V GRAND PRINCESS and
 27   by boarding passengers onto a ship Defendants knew or should have known was
 28
                                                                 PLAINTIFF'S COMPLAINT FOR DAMAGES
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  1   contaminated with COVID-19 alongside passengers and crew members who had
  2   been exposed to, and were likely vectors of, the virus.
  3           101. Defendants also breached their duties to Decedent by failing to take
  4   appropriate and effective measures to clean, sanitize, and/or disinfect the M/V
  5   GRAND PRINCESS in between the Mexico-San Francisco voyage and the San
  6   Francisco-Hawaii voyage, or after embarkation and during the Hawaii trip.
  7           102. Defendants further breached their duties when they chose not to
  8   implement effective medical screenings or examinations for passengers already
  9   onboard and/or for those newly boarding the ship, and did not establish social
 10   distancing or quarantine protocols for any passengers until on or before March 5,
 11   2019.
 12           103. Defendants also breached their duties when they did not disembark
 13   those passengers and crew members from the prior Mexico voyage who were
 14   known to have been exposed to COVID-19, and when they did not institute
 15   effective measures of social distancing and / or quarantine for those passengers and
 16   crew members, in order to limit the spread of COVID-19 among newly boarded
 17   passengers.
 18           104. Defendants additionally breached their duties to Decedent when they
 19   failed to notify passengers, including Decedent, of: the risk of contracting COVID-
 20   19 while aboard the M/V GRAND PRINCESS; the presence on the vessel of
 21   passengers and crew members who had been exposed to COVID-19; and of the
 22   option and potential health benefits of disembarking from the ship at one of its ports
 23   of call.
 24           105. Defendants further breached their duties to Decedent by actively
 25   encouraging passengers, including Decedent, to attend large gatherings and events
 26   and “mingle” with other passengers, and when they failed to take other measures in
 27   limiting interactions among passengers and crew members, such as by ceasing to
 28   offer turndown service.
                                                                PLAINTIFF'S COMPLAINT FOR DAMAGES
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  1         106. As a direct and proximate result of Defedents’ wrongful acts and
  2   outrageous failures to safeguard Decedent, Decedent contracted COVID-19.
  3         107. Decedent was forced to spend days at Travis Air Force Base, was sent
  4   to California Pacific Medical Center, spent over two weeks in the hospital—ten
  5   days of which were spent on a respirator in a medically-induced coma—and
  6   subsequently died.
  7         108. As a direct and proximate result of Defendants’ wrongful acts and
  8   outrageous failures to safeguard Decedent, Plaintiff CHRISTOPHER WEIDNER
  9   has sustained and will incur damages, including wrongful death damages and other
 10   losses, the full nature and extent of which are not yet known to Plaintiff, and leave
 11   is requested to amend this Complaint to conform to proof at the time of trial.
 12                    THIRD CAUSE OF ACTION
            COMMON LAW GROSS NEGLIGENCE –WRONGFUL DEATH
 13
 14         109. Plaintiff re-alleges all allegations in all preceding paragraphs as if
 15   alleged fully herein.
 16         110. Out of an abundance of caution, including if this Court should
 17   determine that the Death on the High Seas Act, 46 U.S.C. § 30301 et seq., does not
 18   apply in this case, Plaintiff additionally alleges in the alternative that Defendants
 19   are liable for Decedent’s wrongful death under maritime common law gross
 20   negligence.
 21         111. Defendants owed Decedent CARL WEIDNER, who was a paying
 22   passenger that boarded the M/V GRAND PRINCESS on February 21, 2020, a duty
 23   to ensure that he would not be exposed to an unreasonable risk of harm.
 24         112. Likewise, Defendants owed Decedent a duty to take actions to prevent
 25   and mitigate the risk of threats to his health and safety, including by ensuring that
 26   the M/V GRAND PRINCESS was properly cleaned, disinfected, and safely
 27   maintained.
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                                                                PLAINTIFF'S COMPLAINT FOR DAMAGES
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  1         113. Defendants knew or should have known that cruise ships pose an
  2   especially severe risk of viral outbreak. Defendants knew or should have known
  3   that cruise ships owned and operated by Defendants had been the sites of prior,
  4   lethal outbreaks of COVID-19, and should have been aware of new guidelines for
  5   the cruise industry published by Dr. Hadjichristoulou and a team of European
  6   experts on February 3, 2020. In particular, Defendants had knowledge of the actual
  7   risks facing passengers based on the outbreak of the virus on the Diamond Princess,
  8   a mere three weeks prior to the instant outbreak.
  9         114. Defendants knew or should have known that passengers traveling on
 10   the M/V GRAND PRINCESS had suffered COVID-19 symptoms and that
 11   passengers aboard the M/V GRAND PRINCESS’s San Francisco-Mexico voyage
 12   who remained onboard the vessel for the San Francisco-Hawaii voyage were or
 13   could have been exposed to and were or could have been carriers of the virus.
 14         115. Defendants knew or should have known that crew aboard the M/V
 15   GRAND PRINCESS were or could have been exposed to COVID-19 and were or
 16   could have been carriers of the virus.
 17         116. Defendants also knew or should have known that COVID-19 posed
 18   especially high risks for adults over the age of 65 and that a large number of their
 19   passengers, including Decedent, were over the age of 65.
 20         117. Defendants’ conduct in deciding to continue to operate the M/V
 21   GRAND PRINCESS, even with the aforementioned knowledge, demonstrates an
 22   intentional failure to do what a reasonably careful cruise ship owner and operator
 23   would do under the circumstances, exhibits a willful and conscious disregard for the
 24   Decedent, and evidences recklessness and indifference by Defendants, which
 25   constitutes gross negligence.
 26         118. Defendants’ decision not to effectively clean, sanitize, or disinfect the
 27   M/V GRAND PRINCESS, despite their aforementioned knowledge that the ship
 28   likely was infested with COVID-19, demonstrates an intentional failure to do what
                                                              PLAINTIFF'S COMPLAINT FOR DAMAGES
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  1   a reasonably careful cruise ship owner and operator would do under the
  2   circumstances, exhibits a willful and conscious disregard for the Decedent, and
  3   evidences recklessness and indifference by Defendants, which constitutes gross
  4   negligence.
  5         119. Defendants’ failure to abide by the guidelines issued on February 3,
  6   2020, by not disembarking, on February 21, 2020, passengers known to have been
  7   in casual contact with individuals who reported COVID-19 symptoms and were
  8   later diagnosed with the virus, constitutes a failure to provide even a modicum of
  9   care to Decedent. Furthermore, the continued and repeated choice not to quarantine
 10   or otherwise shelter in their cabins the passengers and crew members who traveled
 11   on the San Francisco-Mexico voyage demonstrates a willful and conscious
 12   disregard for the rights and safety of others and amounts to an extreme departure of
 13   what a reasonably careful cruise ship owner and operator would do.
 14         120. Defendants’ choice not to warn Decedent of his actual risk of harm in
 15   being exposed to COVID-19, either prior to boarding or while he was already on
 16   board, in light of the prior passenger who came down with symptoms and later
 17   died, along with others from that prior voyage that exhibited symptoms, and the
 18   crew member who disembarked during this voyage due to COVID-19-related
 19   illness, constitutes a failure to provide even a modicum of care to Decedent. The
 20   continued and repeated choice to provide passengers, including Decedent, with no
 21   notice of the actual risks facing them demonstrates a willful and conscious
 22   disregard for the rights and safety of others and amounts to an extreme departure of
 23   what a reasonably careful cruise ship owner and/or operator would do.
 24         121. Moreover, Defendants demonstrated a willful and conscious disregard
 25   for the rights and safety of others and an extreme departure of what a reasonably
 26   careful cruise ship owner and/or operator would do through their continued and
 27   repeated choices to: not effectively sanitize and disinfect the M/V GRAND
 28   PRINCESS, either before or during the San Francisco-Hawaii voyage; not institute
                                                             PLAINTIFF'S COMPLAINT FOR DAMAGES
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  1   medical screening and examinations for passengers and crew members; host large
  2   social gatherings and meals; conduct daily turn-down service; and not impelement
  3   quarantine or social distance protocols until on or around March 5, 2020. These
  4   decisions manifest Defendants’ utter failure to provide even a modicum of care to
  5   Decedent.
  6         122. Defendants prioritized profits over people and continued to operate
  7   business as usual, despite their knowledge that the COVID-19 global pandemic and
  8   the condition and environment of the M/V GRAND PRINCESS posed an actual,
  9   potentially-lethal, risk to the safety and well-being of the general public, their crew,
 10   and their passengers, including Decedent.
 11         123. As a direct and proximate result of Defendants’ failure to provide even
 12   scant care to Decedent CARL WEIDNER, Decedent was placed at actual, continual
 13   risk of immediate, and deadly, physical harm.
 14         124. As a direct and proximate result of Defedents’ wrongful acts and
 15   outrageous failures to safeguard Decedent, Decedent contracted COVID-19.
 16         125. Decedent was forced to spend days at Travis Air Force Base, was sent
 17   to the California Pacific Medical Center hospital, spent over two weeks in the
 18   hospital—ten days of which were spent on a ventilator and in a medically-induced
 19   coma—and subsequently died.
 20         126. As a direct and proximate result of Defendants’ wrongful acts and
 21   outrageous failures to safeguard Decedent, Plaintiff CHRISTOPHER WEIDNER
 22   has sustained wrongful death damages. Additionally, Plaintiff CHRISTOPHER
 23   WEIDNER has incurred, and will incur, wrongful death damages and other losses,
 24   the full nature and extent of which are not yet known to Plaintiff, and leave is
 25   requested to amend this Complaint to conform to proof at the time of trial.
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                                                                PLAINTIFF'S COMPLAINT FOR DAMAGES
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  1                                 PRAYER FOR RELIEF
  2          WHEREFORE, Plaintiff, individually and as Personal Representative of the
  3   Decedent CARL WEIDNER, prays for judgment against Defendants, and each of
  4   them, as follows:
  5          1.    For pecuniary damages arising as a result of Decedent’s wrongful
  6   death, including but not limited to, funeral and burial expenses, the loss of financial
  7   support Decedent would have contributed to the family; the loss of inherintance; the
  8   loss of gifts or benefits that Plaintiff would have expected to receive from
  9   Decedent; the reasonable value of household services that Decedent would have
 10   provided, past and future loss of love, companionship, comfort, care, assistance,
 11   protection, affection, society, moral support, training and guidance of Decedent,
 12   and all other damages recoverable under applicable law.
 13          2.    An award of attorneys’ fees and costs, as allowed by law;
 14          3.    An award of pre-judgment and post-judgment interest, as provided by
 15   law;
 16          4.    For such other and further relief as the Court deems just and proper.
 17
 18
 19   Dated:       May 4, 2020          Respectfully submitted,
 20                                     MARY ALEXANDER & ASSOCIATES, P.C.
 21
 22                                     By:
                                          Mary E. Alexander, Esq.
 23                                       Brendan D.S. Way, Esq.
 24
 25
 26
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                                                               PLAINTIFF'S COMPLAINT FOR DAMAGES
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  1   Dated:      May 4, 2020       LIEFF CABRASER HEIMANN &
                                    BERNSTEIN, LLP
  2
  3
                                    By:
  4                                   Elizabeth J. Cabraser, Esq.
                                      Jonathan D. Selbin, Esq.
  5
  6                                     Attorneys for Plaintiff
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                                                          PLAINTIFF'S COMPLAINT FOR DAMAGES
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